
In re Carl Goetz applying for writs of review, certiorari and mandamus. Parish of Ascension.
Writ granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Penrose St. Amant, Judge of the 23rd Judicial District, Court for the Parish of Ascension, to transmit to the Supreme Court of Louisiana, on or before the 30th day of March, 1979, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
*139It is further ordered that the aforesaid Judge of said Court and the respondent through counsel, shall show cause, in this Court, on a date to be fixed by this Court, why the relief prayed for in the petition of the relator should not be granted.
